                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                              COOKEVILLE DIVISION


 SARAH BETH CAIN,                              )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )   NO. 2:17-cv-00055
                                               )
 TENNESSEE TECH UNIVERSITY, ET                 )
 AL.,                                          )
                                               )
         Defendant.                            )


                                          ORDER

        Plaintiff’s Motion for Extension of Time to File Objections to Magistrate Judge’s New

Report and Recommendation and Motion for De Novo Determination (Doc. No. 50) is

GRANTED. Plaintiff shall file her objections on or before June 28, 2019.

        IT IS SO ORDERED.


                                           ____________________________________
                                           WAVERLY D. CRENSHAW, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE




      Case 2:17-cv-00055 Document 51 Filed 06/12/19 Page 1 of 1 PageID #: 608
